     Case 3:21-cv-00211-RAH-ECM-KCN Document 141 Filed 07/08/21 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                                EASTERN DIVISION

THE STATE OF ALABAMA, et al.,                )
                                             )
        Plaintiffs,                          )
                                             )
v.                                           ) Case No. 3:21-cv-211-RAH-ECM-KCN
                                             )
UNITED STATES DEPARTMENT                     )
OF COMMERCE, et al.,                         )
                                             )
        Defendants.                          )

                                          ORDER

        On July 2, 2021, the parties filed a Joint Motion for Stay. (Doc. 140.) For good

cause, it is

        ORDERED that the Motion (Doc. 140) is GRANTED.

        Accordingly, all proceedings in this case are STAYED pending further order from

this Court. The parties shall file a joint status report with the Court on or before September

10, 2021, regarding any future proceedings in this action.

        DONE, on this the 8th day of July, 2021.


                                          /s/ Kevin C. Newsom
                                    KEVIN C. NEWSOM
                                    UNITED STATES CIRCUIT JUDGE


                                          /s/ Emily C. Marks
                                    EMILY C. MARKS
                                    CHIEF UNITED STATES DISTRICT JUDGE
Case 3:21-cv-00211-RAH-ECM-KCN Document 141 Filed 07/08/21 Page 2 of 2




                                 /s/ R. Austin Huffaker, Jr.
                          R. AUSTIN HUFFAKER, JR.
                          UNITED STATES DISTRICT JUDGE
